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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                            )
                                                            )
    LUCAS CALIXTO, et al.,                                  )
                                                            )
                                 PLAINTIFFS,                )    Case No. 1:18-cv-01551-ESH
                                                            )
    v.                                                      )
                                                            )    HEARING REQUESTED
    UNITED STATES DEPARTMENT OF THE                         )
    ARMY, et al.,                                           )
                                                            )
                                 DEFENDANTS.                )
                                                            )
                                                            )
                                                            )
                                                            )

                        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                            AND APPOINTMENT OF CLASS COUNSEL

               Pursuant to Rule 23 of the Federal Rules of Civil Procedure and Rule 23.1(b) of the Local

Rules of the U.S. District Court for the District of Columbia, Plaintiffs Lucas Calixto, Tounde

Djohi, Wanjing Li, Zeyuan Li, Fang Lu, Jingquan Qu, Hembashima Sambe, and Emeka Udeigwe

(collectively, “Plaintiffs”) hereby move the Court for an order certifying this case as a class action,1

with the class consisting of all persons:

         (i)      who have enlisted in the U.S. Army (including the Army Reserve) through the Military

                  Accessions Vital to the National Interest (“MAVNI”) program;




1
       As set forth in Plaintiffs’ Motion for Preliminary Injunction, filed contemporaneously, in
an attempt to reach agreement on the underlying issues that are now raised in the Amended
Complaint, Plaintiffs’ counsel contacted Defendants’ counsel and sought assurances that
Defendants would revoke the discharges of soldiers situated similarly to original Plaintiff Lucas
Calixto. Defendants did not respond to the communication or otherwise represent that they would
provide relief to any soldier beyond Plaintiff Calixto.


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    (ii)      who are the subject of a final discharge or separation decision since September 30,

              2016 (whether or not the soldier received a formal discharge order and regardless of

              whether the “effective date” of the discharge or separation has passed);

    (iii)     whose discharge or separation has not been characterized by the Army (including

              “uncharacterized” and “entry level” discharges or separations); and

    (iv)      whose final discharge or separation decision was made without the soldier first being

              afforded the process due under applicable Army and Department of Defense

              regulations and the law, including adequate notice of the discharge grounds, an

              opportunity to respond, due consideration of the soldier’s response by the Army, or

              other requirements of law.

           As described in Plaintiffs’ Memorandum of Points and Authorities in Support of this

Motion, Plaintiffs satisfy the requirements set forth in Federal Rule of Civil Procedure 23(a). First,

the Plaintiff class meets the numerosity standard. Second, the proposed class members share

common facts and the case raises central legal questions that are common to each class member,

including questions arising out of Defendants’ policies and practices with respect to the discharge

of MAVNI soldiers. Third, the named Plaintiffs’ claims are typical of the claims of the proposed

class, as all of them have been subject to Defendants’ unlawful summary discharges and have

sustained the same types of injuries from Defendants’ conduct. Fourth, Plaintiffs and their counsel

will adequately represent the class and are prepared to vigorously prosecute this action on behalf

of the class.

           Furthermore, certification is warranted under Rule 23(b)(1) because there is a significant

risk that separate actions would result in inconsistent decisions and incompatible standards as to

Defendants’ contested practices and Rule 23(b)(2) because the class has been subjected to




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Defendants’ common practices and Plaintiffs are seeking injunctive and declaratory relief, which

is appropriate for the class as a whole.

       WHEREFORE, Plaintiffs respectfully move this Court for an Order certifying the class

and appointing their attorneys as class counsel.


Dated: August 3, 2018                        Respectfully submitted,
                                             FRIED, FRANK, HARRIS, SHRIVER
                                              & JACOBSON LLP

                                             __     /s/ Douglas W. Baruch_________
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                          )
                                          )
LUCAS CALIXTO, et al.,                    )
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                    PLAINTIFFS,           )    Case No. 1:18-cv-01551-ESH
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v.                                        )
                                          )    HEARING REQUESTED
UNITED STATES DEPARTMENT OF THE           )
ARMY, et al.,                             )
                                          )
                    DEFENDANTS.           )
                                          )
                                          )
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                                          )


       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
           PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
               AND APPOINTMENT OF CLASS COUNSEL




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        Pursuant to Rule 23 of the Federal Rules of Civil Procedure and Rule 23.1(b) of the Local

Rules of the U.S. District Court for the District of Columbia, Plaintiffs Lucas Calixto, Tounde

Djohi, Wanjing Li, Zeyuan Li, Fang Lu, Jingquan Qu, Hembashima Sambe, and Emeka Udeigwe

(collectively, “Plaintiffs”), by and through their undersigned counsel, hereby file this

Memorandum of Points and Authorities in Support of Plaintiffs’ Motion for Class Certification

and Appointment of Class Counsel (the “Motion”). As set forth below, Plaintiffs ask that the Court

(1) certify the requested class; (2) appoint the requested class representatives; and (3) appoint the

requested class counsel.

                                         BACKGROUND

        The claims in this case arise out of a practice by Defendant United States Department of

the Army (“Army”) that is being applied to every similarly-situated soldier. Under Army

regulations, Department of Defense (“DoD”) regulations, and the fundamental requirements of

due process, every soldier is entitled to, at a minimum, (a) prior notice of the Army’s intent to

discharge or separate him or her from service, explaining the specific reasons or grounds for the

discharge, (b) an opportunity to respond and be heard on the matter of the proposed discharge, and

(c) the Army’s due consideration of the soldier’s response prior to a final discharge decision being

made.    And, in many circumstances, more process is due, including rehabilitation efforts,

counseling, and/or panel or board review and decision-making. But the Army systematically has

not been following its own regulations and thus has failed to afford the process due to soldiers who

enlisted through the Military Accessions Vital to the National Interest (“MAVNI”) program.

        Instead, these MAVNI soldiers are being subjected to national origin discrimination and

summary discharges – generally under the guise of “uncharacterized” or “entry level” separations

– without notice, explanation, or opportunity to respond. Defendants have all but admitted that




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this practice violates its own policies when, instead of opposing the preliminary injunction

requested by Plaintiff Private Second Class (“PV2”) Lucas Calixto, Defendants instead responded

that the Army had “decided to revoke Plaintiff’s discharge” and would “comply with the applicable

law and regulations governing administrative separation of soldiers” in the event of any new

proposed discharge. Dkt. 15, at 1. While Defendants have revoked PV2 Calixto’s discharge,

Defendants have not done the same for numerous other MAVNI soldiers who have been subjected

to improper summary discharges. Plaintiffs’ counsel contacted Defendants’ counsel and sought

assurances that Defendants would revoke the discharges of soldiers situated similarly to PV2

Calixto, but Defendants did not respond to the communication or otherwise represent that they

would provide relief to any soldier beyond PV2 Calixto.

       Plaintiffs contend that Defendants’ practice violates the Army’s own regulations, DoD

regulations, and is contrary to law. In particular, Army and DoD regulations establish the process

to be afforded to soldiers before a discharge decision is made, and these soldiers additionally are

entitled to the fundamental requirements of substantive and procedural due process and equal

protection. If Plaintiffs are right, their declaratory, Administrative Procedure Act (“APA”),

injunctive relief, and constitutional claims will prevail such that all MAVNI soldiers must be

afforded the process due (and provided to other soldiers) in advance of separation from the Army.

       Plaintiffs’ claims in this case are not dependent on an individualized assessment of whether

discharge is appropriate under the circumstances that exist for any individual soldier. The question

here is the legality of the Army’s practice of summarily discharging MAVNI soldiers without the

process due. In other words, the claims here are common among Plaintiffs and similarly-situated

soldiers and warrant class action certification under Rule 23.




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                                           ARGUMENT

I.     The Proposed Class

       Plaintiffs seek certification of a class of soldiers:

       (1)     who have enlisted in the U.S. Army (including the Army Reserve) through
               the MAVNI program;

       (2)     who are the subject of a final discharge or separation decision since
               September 30, 2016 (whether or not the soldier received a formal discharge
               order and regardless of whether the “effective date” of the discharge or
               separation has passed);

       (3)     whose discharge or separation has not been characterized by the Army
               (including “uncharacterized” and “entry level” discharges or
               separations); and

       (4)     whose final discharge or separation decision was made without the soldier
               first being afforded the process due under applicable Army and DoD
               regulations and the law, including adequate notice of the discharge grounds,
               an opportunity to respond, due consideration of the soldier’s response by
               the Army, or other requirements of law.1

       Plaintiffs and the class members share several common questions, and the relief Plaintiffs

seek would apply broadly to all members of the class. For instance, as described in the Complaint,

Plaintiffs seek declaratory relief that, because Army and DoD regulations set forth specific

procedures that must be followed before a final discharge decision is made with respect to a soldier

whose discharge is without characterization and Defendants failed to follow those procedures with

respect to Plaintiffs and similarly-situated soldiers, the final discharge decisions are unlawful and

must be revoked. See Amended Complaint (“AC”) ¶¶ 154-156. Additionally, Plaintiffs seek,

among other relief, preliminary and permanent injunctive relief for Plaintiffs and similarly-situated




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        With respect to the named Plaintiffs, these facts have been set forth in Plaintiffs’
declarations submitted in support of the contemporaneously-filed Motion for Preliminary
Injunction.


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soldiers that would, among other things, have the Army revoke the final discharge decisions and

fully reinstate the soldiers in the military. See AC ¶¶ 157-161.

       Certifying the proposed class would result in both judicial economy and the efficient use

of party resources “by permitting an issue potentially affecting every class member to be litigated

in an economical matter,” which courts have identified as a primary purpose of class actions.

Thorpe v. Dist. of Columbia, 303 F.R.D. 120, 143 (D.D.C. 2014) (citing Gen. Tel. Co. of the Sw.

v. Falcon, 457 U.S. 147, 155 (1982)); see also Crown, Cork & Seal Co. v. Parker, 462 U.S. 345,

349 (1983) (noting a primary purpose of class actions as the “promotion of efficiency and

economy,” including by avoiding multiple suits).

II.    The Rule 23 Standard

       Rule 23 of the Federal Rules of Civil Procedure sets forth the requirements for class

certification. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350, (2011); Garcia v. Johanns,

444 F.3d 625, 631 (D.C. Cir. 2006). First, Rule 23(a) specifies that the class satisfy four criteria:

               (1) the class is so numerous that joinder of all members is
               impracticable; (2) there are questions of law or fact common to the
               class; (3) the claims or defenses of the representative parties are
               typical of the claims or defenses of the class; and (4) the
               representative parties will fairly and adequately protect the interests
               of the class.

Fed. R. Civ. P. 23(a)(1)–(4); see also Wal-Mart, 564 U.S. at 349 (“Rule 23(a) ensures that the

named plaintiffs are appropriate representatives of the class whose claims they wish to litigate.”).

       Second, class action certification requires establishing that the purported class action fits

into one of the three categories listed in Rule 23(b). See Ross v. Lockheed Martin Corp., 267 F.

Supp. 3d 174, 190 (D.D.C. 2017). The circumstances here satisfy Rule 23(b)(1)(A), which states

that class certification is appropriate where separate actions by individual class members “would

create a risk of . . . inconsistent or varying adjudications . . . that would establish incompatible



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standards of conduct for the party opposing the class.” Fed. R. Civ. P. 23(b)(1)(A). Alternatively,

Rule 23(b)(2) is satisfied because “the party opposing the class has acted or refused to act on

grounds that apply generally to the class, so that final injunctive relief or corresponding declaratory

relief is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

III.   Plaintiffs Satisfy Rule 23(a)

       Each Rule 23(a) requirement – numerosity, commonality, typicality, and adequacy – is

present here.

         A.      The Proposed Class Is So Numerous That Joinder of All Members Is
                 Impracticable

       Rule 23(a)(1)’s numerosity factor assesses whether joinder is impracticable due to the size

of the class. The operative question is whether it would be too inconvenient and difficult – for the

court and the parties – to join all members of the class individually and to litigate each member’s

claims on an individualized basis. See DL v. Dist. of Columbia, 302 F.R.D. 1, 11 (D.D.C. 2013)

(“Demonstrating impracticability of joinder does not mandate that joinder of all parties be

impossible—only that the difficulty or inconvenience of joining all members of the class make use

of the class action appropriate.” (internal quotations and citations omitted)); Meijer, Inc. v. Warner

Chilcott Holdings Co. III, Ltd., 246 F.R.D. 293, 306–07 (D.D.C. 2007) (explaining that test for

impracticability is not just concerned with numbers but also with geographic location,

convenience, judicial economy, and the nature of the action); see also Coleman v. Pension Benefit

Guar. Corp., 196 F.R.D. 193, 198 (D.D.C. 2000) (noting that the numerosity requirement is

satisfied where it is clear that joinder would be impracticable).

       The numerosity requirement “imposes no absolute limitations” as to the minimum number

of class members and is determined on a case-by-case basis. Bynum v. Dist. of Columbia, 214

F.R.D. 27, 32 (D.D.C. 2003) (quoting Gen. Tel. Co. of the Nw., Inc. v. EEOC, 446 U.S. 318, 330



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(1980)). However, as a general benchmark, “a class of at least forty members is sufficiently large.”

Disability Rights Council of Greater Wash. v. Wash. Metro. Area Transit Auth., 239 F.R.D. 9, 25

(D.D.C. 2006); see also Healthy Futures of Tex. v. HHS, No. 1:18-cv-992 (KBJ), 2018 U.S. Dist.

LEXIS 91872, *10 (D.D.C. June 1, 2018) (finding proposed class consisting of “more than sixty”

organizations satisfied numerosity requirement); Meijer, 246 F.R.D. at 306 (finding proposed class

consisting of thirty members satisfied numerosity requirement and noting that “as few as 25-30

class members should raise a presumption that joinder would be impracticable, and thus the class

should be certified” (quoting EEOC v. Printing Indus. of Metro. Washington, D.C., Inc., 92 F.R.D.

51, 53 (D.D.C. 1981)). Furthermore, Plaintiffs do not need to provide an exact number of

individuals who fall within the class to merit certification. See, e.g., Nat’l Veterans Legal Servs.

Program v. United States, 235 F. Supp. 3d 32, 40 (D.D.C. 2017) (finding class satisfied the

numerosity requirement “[a]lthough the parties have not presented any precise data about the size

of the class”); Kifafi v. Hilton Hotels Ret. Plan, 189 F.R.D. 174, 176 (D.D.C. 1999) (“So long as

there is a reasonable basis for the estimate provided, the numerosity requirement can be satisfied

without precise numbers.”).

       Plaintiffs have demonstrated numerosity. AC ¶¶ 141-146. Although the exact number of

class members is unknown to Plaintiffs at this time as such information resides exclusively within

the province of Defendants and must await Defendants’ disclosure/discovery, Plaintiffs have

grounds to believe that the proposed class currently exceeds 40 individuals and that, unless the

Court provides the requested preliminary injunctive relief, the number of class members is likely

to grow substantially larger.

       Media reports from several weeks ago indicated that, at that point in time, more than 40

MAVNIs already had been discharged in a manner similar to Plaintiffs. See, e.g., Martha Mendoza




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& Garance Burke, U.S. Army Quietly Discharging Immigrant Recruits, APNews.com (July 6,

2018), available at https://www.apnews.com/38334c4d061e493fb108bd975b5a1a5d. Further, in

a related action (Nio v. DHS), DoD submissions to the Court indicate that, as of June 29, 2018,

111 members of that class either already had attended basic training or are “no longer serving.”

Nio, Dkt. 170, Ex. A (111 derived by filtering the far right column to reflect only the “N/A”

entries). Plaintiffs understand that the majority of the 111 MAVNI soldiers on that list are “no

longer serving” because they have been summarily discharged/separated. In another related

action, Kirwa v. DoD, DoD representatives asserted on June 15, 2018 that at 86 MAVNI soldiers

who are members of the Kirwa class have been discharged from the Army.

       Moreover, a Pentagon spokesperson recently stated that the Army expects to discharge

approximately one-third of the MAVNI soldiers still waiting for MSSDs, and earlier DoD

estimates suggested that DoD expected closer to half of the MAVNI soldiers to receive

“unfavorable” adjudications. See, e.g., Carla Babb, Pentagon: 2 of 3 Immigrants in U.S. Military

Program     Go     on   to    Serve,   VOANews.com         (July   12,    2018),    available    at

https://www.voanews.com/a/pentagon-two-of-three-immigrants-in-special-us-military-program-

go-on-to-serve/4480484.html.     As a result, the proposed class likely is larger than the numbers

Plaintiffs are able to glean from MAVNI community discussions, media reports, and windows of

information from DoD and the Army in the related cases. And, absent this Court’s grant of

preliminary injunctive relief, based on current estimates, this proposed class easily could grow to

include many hundreds of members. See Nio, Dkt. 17-8 (May 2017 DoD Action Memo identifying

MAVNI populations, including “Group 3” and “Group 4” totaling well over 4,000 “DTP” and

“DEP” soldiers).




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       Moreover, because the proposed class is widely dispersed – with MAVNI soldiers having

enlisted and serving across the country – joinder is impracticable. See Meijer, 246 F.R.D. at 306

(“[C]ourts often take the geographical location of the proposed class members into consideration

when deciding whether or not certification is appropriate.” (quoting In re Vitamins Antitrust Litig.,

209 F.R.D. 251, 259 (D.D.C. 2002))); Lewis v. Nat’l Football League, 146 F.R.D. 5, 8–9 (D.D.C.

1992) (finding joinder “clearly impracticable” and numerosity requirement satisfied where

proposed class consisted of approximately 250 players who were geographically dispersed). Here,

the eight named Plaintiffs alone reside in eight different states and are/were serving in the military

in locations in eight different states. See AC ¶¶ 15-22.

       Finally, the numerosity inquiry may take into account the “financial resources of class

members” and “the ability of claimants to institute individual suits.” DL, 302 F.R.D. at 11 (quoting

Robidoux v. Celani, 987 F.2d 931, 936 (2d Cir. 1993)). Here, Plaintiffs and the class members are

enlisted soldiers, the majority of whom have limited alternative work opportunities due to their

enlistment and immigration status. See Robidoux, 987 F.2d at 936 (finding that class members’

limited financial resources and little ability to institute individual suits weighed in favor of finding

joinder impracticable). Indeed, due to their limited resources and circumstances, Plaintiffs are

represented in this action by counsel on a pro bono basis.

       For these reasons, the proposed class meets the numerosity requirement of Rule 23(a)(1).

         B.      There Are Common Questions of Both Law and Fact

       Plaintiffs meet Rule 23(a)(2)’s commonality requirement as well. Commonality is satisfied

when questions of law or fact are common among class members. Fed. R. Civ. P. 23(a)(2). In

Wal-Mart Stores, Inc. v. Dukes, the Supreme Court explained that the commonality test is met

when the claims of the class depend on a “common contention [that] is capable of classwide




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resolution – which means that determination of its truth or falsity will resolve an issue that is

central to the validity of each one of the claims in one stroke.” 564 U.S. at 350. And, as this Court

has explained, “[e]ven a single common question will do.” Thorpe, 303 F.R.D. at 145. In other

words, the commonality test is met where there is at least one issue, the resolution of which will

affect the class. Thus, the commonality requirement for class certification is satisfied where

“resolution of these common contentions will generate common answers for the entire class and

resolve issues that are central (and potentially dispositive) to the validity of each plaintiff’s claim

and the claims of the class as a whole.” Id. at 146–47.

       This case presents a central question common to each class member: Whether it is unlawful

for the Army to discharge MAVNI soldiers – through a discharge without a characterization –

without following the mandatory procedures laid out in Army and DoD Regulations and without

otherwise affording discharged soldiers the process that is due under the U.S. Constitution. Indeed,

the commonality “inquiry is simplified in cases like the instant one, because, as the D.C. Circuit

has explained, a challenge to ‘a uniform policy or practice that affects all class members’ in the

same way clearly gives rise to common questions of fact or law.” Healthy Futures of Tex., 2018

U.S. Dist. LEXIS 91872, at *11 (quoting DL, 713 F.3d at 128); see also R.I.L-R v. Johnson, 80 F.

Supp. 3d 164, 181 (D.D.C. 2015) (granting provisional class certification, in part because DHS

policy of having Immigration and Customs Enforcement consider deterrence of mass immigration

as a factor in custody releases satisfied the commonality requirement); Encinas v. J.J. Drywall

Corp., 265 F.R.D. 3, 8–9 (D.D.C. 2010) (certifying class and finding commonality where

“challenged activity is the same” for plaintiffs and class members and involved company’s alleged

policy of withholding portion of employees’ gross wages); Johnson v. Dist. of Columbia, 248

F.R.D. 46, 53 (D.D.C. 2008) (certifying class of female arrestees where principal legal issue was




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whether defendants’ blanket strip search policy violated class members’ Fourth and Fifth

Amendment rights).

       Moreover, “factual variations among the class members will not defeat the commonality

requirement, so long as a single aspect or feature of the claim is common to all proposed class

members.” Encinas v. J.J. Drywall Corp., 265 F.R.D. 3, 8 (D.D.C. 2010) (quoting Bynum v. Dist.

of Columbia, 217 F.R.D. 43, 46 (D.D.C. 2003)); see also Damus v. Nielsen, No. 18-578 (JEB),

2018 U.S. Dist. LEXIS 109843, at *29 (D.D.C. July 2, 2018) (finding common question in

allegation that ICE was “no longer providing the ‘individualized determinations’ of parole

eligibility and procedural protections required by the Parole Directive,” even if circumstances of

individual detentions might vary).

       For example, in the related Nio case, this Court certified a class of MAVNI soldiers with

respect to the validity of DHS and DoD policies and practices despite some individual variability:

“The Court acknowledges the factual variations among class members, but finds that they do not

impact the overarching questions common to the class: (1) Do defendants have the legal authority

to implement these policies and practices? (2) Did defendants implement their new policies and

practices in accordance with the strictures of the APA? and (3) Do these policies and practices

otherwise violate the Constitution, the APA, or other applicable law?” Nio v. U.S. Dep’t of

Homeland Sec., 323 F.R.D. 28, 32 (D.D.C. 2017).

       Here, the proposed class members share key factual characteristics: (1) All are soldiers

enlisted through the MAVNI program; (2) all are the subject of a final discharge or separation

order; (3) all of these orders lack a “characterization” by the Army (e.g., they are “entry level” or

“uncharacterized” separations); and (4) all of these soldiers have been denied the process due to

them prior to discharge. Plaintiffs are challenging Defendants’ practice of summarily discharging




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MAVNI soldiers because they are MAVNI soldiers. This Army practice, as Plaintiffs allege in

the Complaint, violates Army and DoD regulations, the APA, and constitutional due process and

equal protection. Thus, Plaintiffs seek declaratory, injunctive, and other relief so that Defendants

do not continue to summarily discharge MAVNI soldiers and that improper discharge orders are

revoked, with soldiers being fully reinstated in the Army. In other words, all members of the

proposed class are challenging the same unlawful Army practice – which uniformly applies to all

class members – and the Court’s determination of whether that practice is unlawful would resolve

all class members’ claims “in one stroke.” Wal-Mart, 564 U.S. at 350.

         C.      Plaintiffs’ Claims Are Typical of the Claims of the Class as a Whole

       The third component of Rule 23(a) requires that the claims of the representatives be typical

of the claims of the class. Fed. R. Civ. P. 23(a)(3). See Taylor v. Dist. of Columbia Water & Sewer

Auth., 241 F.R.D. 33, 44 (D.D.C. 2007). “[A] class representative’s claims are typical of those of

the class if ‘the named plaintiffs’ injuries arise from the same course of conduct that gives rise to

the other class members’ claims.’” Encinas, 265 F.R.D. at 9 (quoting Bynum, 214 F.R.D. at 34).

Indeed, the typicality and commonality requirements often merge because both requirements

“serve as guideposts” in determining “whether a class action is practical and whether the

representative plaintiffs’ claims are sufficiently interrelated with the class claims to protect absent

class members.” R.I.L-R, 80 F. Supp. 3d at 181 (internal quotations and citations omitted); see

also Falcon, 457 U.S. at 157 n.13 (stating that “[t]he commonality and typicality requirements of

Rule 23(a) tend to merge”).

       Here, Plaintiffs’ claims arise from the same conduct by Defendants that provides the basis

for all class members’ claims, namely, the Army’s refusal to provide process for MAVNI

discharge determinations and to take the necessary corrective action. Notwithstanding any




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individual or factual differences that may exist among the members of the proposed class, each

member is subject to the same unlawful practices and the same types of injuries. Plaintiffs are not

asking the Court, in this action, to review or make any individual discharge determinations based

on the facts or circumstances of any individual soldier’s background or conduct, but only to decide

whether the Army must follow regulations and abide by the Constitution in the discharge process.

Accordingly, the typicality requirement of Rule 23(a) is satisfied.

         D.      The Named Plaintiffs Fairly and Adequately Represent the Interests of the
                 Class

       To meet the Rule 23(a)(4) condition that the named Plaintiffs “fairly and adequately protect

the interests of the class,” (1) the interest of the representative parties must not conflict with the

interests of the other class members, and (2) the representative parties – through counsel – must

be prepared to vigorously pursue the class members’ interests. See Twelve John Does v. Dist. of

Columbia, 117 F.3d 571, 575 (D.C. Cir. 1997); Thorpe, 303 F.R.D. at 150. Here, both of these

conditions are satisfied.

       First, there is no conflict between the named Plaintiffs and the proposed class. In fact, they

have mutual goals, which are to have the Court declare as unlawful and put a stop to Defendants’

practice of summarily discharging MAVNI soldiers and to fully reinstate them in the Army. As

such, Plaintiffs are seeking declaratory, injunctive, and other relief that will benefit all class

members and the class representatives’ interests in this litigation are co-extensive and shared with

those of the class as a whole.

       Second, Plaintiffs’ attorneys are competent and fully prepared to vigorously represent and

pursue the interests of the class. Plaintiffs’ counsel have dedicated considerable work and

committed significant resources to this case and the underlying issues. See Declaration of Douglas

W. Baruch (“Baruch Decl.”) ¶ 8. They will continue to do so. Id. ¶ 9. Plaintiffs’ attorneys are



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qualified, and they have the motivation and resources to vigorously represent the class and litigate

this case. Id. ¶¶ 2-9. They have no other professional commitments which are antagonistic to, or

which would detract from, their efforts to seek a favorable decision for the proposed class in this

case. Id. ¶ 10. Plaintiffs’ counsel have extensive experience in public interest cases and complex

federal litigation, including litigation against the federal government. Id. ¶¶ 3-6. Plaintiffs’

counsel also are serving as appointed class counsel in the related Kirwa and Nio actions involving

MAVNI soldiers. As this Court noted in certifying the Nio class, “Given counsel’s knowledge,

experience, resources, and commendable work already done in the case, the Court has no doubt

that plaintiffs’ counsel can adequately represent the class.” Nio, 323 F.R.D. at 34.

IV.     Class Certification Is Appropriate Under Rule 23(b)(1) and/or Rule 23(b)(2)

        Beyond satisfying the four prongs of Rule 23(a), a certifiable class action must fall within

one of the categories of cases set forth in Rule 23(b). This action qualifies for class certification

under either Rule 23(b)(1) or Rule 23(b)(2). See Wal-Mart, 564 U.S. at 361–62 (“Classes certified

under (b)(1) and (b)(2) share the most traditional justifications for class treatment – that individual

adjudications would be impossible or unworkable, as in a (b)(1) class, or that the relief sought

must perforce affect the entire class at once, as in a (b)(2) class.”).

        A class action is warranted under Rule 23(b)(1)(A) when “prosecuting separate actions by

or against individual class members would create a risk of: (A) inconsistent or varying

adjudications with respect to individual class members that would establish incompatible standards

of conduct for the party opposing the class.” Fed. R. Civ. P. 23(b)(1)(A). As this Court has held,

it is appropriate to certify a class action under Rule 23(b)(1)(A) “when the class seeks injunctive

or declaratory relief to change an alleged ongoing course of conduct that is either legal or illegal

as to all members of the class.” Adair v. England, 209 F.R.D. 5, 12 (D.D.C. 2002) (citing 5




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Moore’s Fed. Practice § 23.41[4] (3d ed. 2000)). Plaintiffs easily satisfy this standard. If the

individual class members were to bring separate suits to challenge Defendants’ practice with

respect to each class member’s discharge orders, the adjudication of these actions may result in

inconsistent decisions and/or varying standards.

       Alternatively, a class action may be certified under Rule 23(b)(2) when “the party opposing

the class has acted or refused to act on grounds that apply generally to the class, so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the class as a whole.”

Fed. R. Civ. P. 23(b)(2); see also Wal-Mart, 564 U.S. at 360 (“The key to the (b)(2) class is the

indivisible nature of the injunctive or declaratory remedy warranted – the notion that the conduct

is such that it can be enjoined or declared unlawful only as to all of the class members or as to

none of them.”) (internal quotation and citation omitted). To qualify under Rule 23(b)(2), “the

party opposing the class does not have to act directly against each member of the class. The key

is whether the party’s actions would affect all persons similarly situated so that those acts apply

generally to the whole class.” 7A Wright & Miller, Federal Practice and Procedure § 1775 (internal

quotations and citations omitted). This is precisely the case here. Plaintiffs are challenging the

lawfulness of the Army’s practice that deprived Plaintiffs and the class members of the process

they are due under the Army’s own regulations and under the U.S. Constitution. This challenged

Army practice of summary discharges applies to all class members simply by virtue of their

designation as MAVNI soldiers, without regard to the individual circumstances of their cases or

any other differences among them.

       Rule 23(b)(2) – as indicated in the Advisory Committee Notes that accompany the

published rule – “is intended to reach situations where a party has taken action or refused to take

action with respect to a class, and final relief of an injunctive nature or of a corresponding




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declaratory nature, settling the legality of the behavior with respect to the class as a whole, is

appropriate.” Fed. R. Civ. P. 23, Comment to Subdivision (b)(2). Indeed, courts have long

recognized that certification under Rule 23(b)(2) is a particularly important – and appropriate –

vehicle for actions challenging the government’s policies and practices. See, e.g., R.I.L-R, 80 F.

Supp. 3d at 182, (certifying class under Rule 23(b)(2) where plaintiffs challenged DHS policy

generally applicable to all class members); Robidoux, 987 F.2d at 936 (vacating lower court’s

denial of class certification in case challenging delays in processing public assistance benefits);

Santillan v. Ashcroft, No. C04-2686-MHP, 2004 WL 2297990, at *12 (N.D. Cal. Oct. 12, 2004)

(certifying class under Rule 23(b)(2) where plaintiffs challenged government’s policy on when it

issued documents on lawful permanent status and sought injunctive relief to change “a set of

national policies and practices in place for background and security checks”).

        Moreover, with regard to the class claims and relief sought, class members do not seek any

“individualized” relief. See Wal-Mart, 564 U.S. at 361 (holding that “[p]ermitting the combination

of individualized and classwide relief in a (b)(2) class is . . . inconsistent with the structure of Rule

23(b)”). As discussed above, Plaintiffs seek an order declaring that Defendants’ practice of

summarily discharging MAVNI soldiers is unlawful and directing that Defendants fully reinstate

these soldiers in the Army. Further, injunctive relief requiring the Army to revoke summary

discharges and reinstate soldiers does not introduce the sort of variability that could defeat class

certification. See Healthy Futures of Tex., 2018 U.S. Dist. LEXIS 91872, at *18 (explaining that

court order requiring HHS to “accept and process” each application “in the same manner as before”

could not “somehow introduces the type of variability with respect to the agency’s treatment of

the class members that renders the certification of this class under Rule 23(b)(2) improper”).




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V.     The Court Should Designate Plaintiffs’ Counsel as Class Counsel

       The Court, upon certifying the class, also must appoint class counsel. Fed. R. Civ. P.

23(c)(1)(B) & 23(g). Under Rule 23(g), the Court must consider the following four factors:

               i. the work counsel has done in identifying or investigating
                  potential claims in the action;

               ii. counsel’s experience in handling class actions, other complex
                   litigation, and the types of claims asserted in the action;

               iii. counsel’s knowledge of the applicable law; and

               iv. the resources that counsel will commit to representing the class.

Fed. R. Civ. P. 23(g)(1)(A)(i)–(iv). As explained above without respect to adequacy, Plaintiffs’

counsel satisfy these four factors. See also Baruch Decl. ¶¶ 2-10.

       Counsel are experienced litigators, who have been involved in multiple complex class

actions and other important federal court cases against the Government. The most senior lawyers

on the trial team are all highly experienced litigators, with decades of combined federal court

litigation experience.   Baruch Decl. ¶¶ 3-6.        Most notably, counsel’s experience includes

appointment as class counsel in the related Kirwa and Nio class actions on behalf of classes of

MAVNI soldiers. Id. ¶¶ 5-6. Counsel are knowledgeable on the requirements and provisions of

Army and DoD regulations, the APA, and the Constitution.

       Counsel have expended substantial resources and time investigating and researching the

issues in this case and in the related Kirwa and Nio class actions, and they are prepared to commit

the resources necessary to successfully and thoroughly prosecute this case. Baruch Decl. ¶¶ 8-9.

For example, counsel extensively researched the claims in this case before filing suit, including

performing factual research on the background of this case and conducting extensive legal research

on the legal bases of the claims raised herein, both during the preparation for the actual filing of

this case and during their handling of the Kirwa and Nio class actions. See, e.g., Greenberg v.


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Colvin, 63 F. Supp. 3d 37, 47 (D.D.C. 2014) (noting law firm’s “significant history of investigating

the claims in this action” in granting the class counsel appointment); Encinas, 265 F.R.D. at 9

(“Counsel have already committed substantial time and resources to identifying and investigating

potential claims in the action.”). Accordingly, Plaintiffs’ counsel qualify for class counsel

appointment in this case.

                                         CONCLUSION

       For these reasons, Plaintiffs’ motion should be granted. Plaintiffs respectfully request that

the Court certify the proposed class and appoint undersigned counsel to represent the class.


Dated: August 3, 2018                         Respectfully submitted,

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